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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division

                               Case Number: 21-60515-CIV-MORENO

  PRESTIGE INSURANCE GROUP and
  ULISES CICCIARELLI,

                 Plaintiffs,
  vs.

  ALLSTATE INSURANCE COMPANY,

              Defendant.
  _________________________________________/

                ORDER GRANTING MOTIONS TO APPEAR PRO HAC VICE

         THIS CAUSE came before the Court upon the Motions to Appear Pro Hac Vice (D.E. 8,

  9, 10), filed on April 27, 2021.

         THE COURT has considered the motion and the pertinent portions of the record, and

  being otherwise fully advised in the premises, it is

         ADJUDGED that the motions are GRANTED. Attorneys Robert G. Lian, Jr., Allison S.

  Papadopoulos, and Katherine I. Heise are admitted pro hac vice to practice before this Court on

  the above-styled case. The Clerk of the Court shall provide electronic notice of all filings on this

  docket to Robert G. Lian, Jr., Allison S. Papadopoulos, and Katherine I. Heise at the following

  email addresses: blian@akingump.com, apapdopoulous@akingump.com, and

  kheise@akingump.com.



         DONE AND ORDERED in Chambers at Miami, Florida, this 30th of April 2021.


                                                         _______________________________________
                                                         FEDERICO A. MORENO
                                                         UNITED STATES DISTRICT JUDGE
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  Copies provided to:

  Counsel of Record
